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                    8
                                                      UNITED STATES DISTRICT COURT
                    9
                                                              DISTRICT OF NEVADA
               10
               11       JOSEPH L. MIZZONI,
                                                                                 Case No. 3:15-cv-00499-MMD-WGC
               12                            Plaintiff,

               13       vs.                                                  OPPOSITION TO MOTION TO RESPOND
                                                                                TO DEFENDANT’S NOTICE OF
               14       STATE OF NEVADA, et al.,                                 ACCEPTANCE OF SERVICE

               15                            Defendants.

               16               Defendant, Ira Brannon, by and through counsel, Adam Paul Laxalt, Attorney General of the

               17       State of Nevada, and Erin L. Albright, Deputy Attorney General, hereby opposes Plaintiff’s Motion to

               18       Respond to Defendant’s Notice of Acceptance of Service. This opposition is based on the following
               19       Memorandum of Points and Authorities and all papers and pleadings on file herein.

               20                             MEMORANDUM OF POINTS AND AUTHORITIES
               21       I.      RELEVANT FACTUAL BACKGROUND
               22               On March 2, 2016, Plaintiff, Joseph L. Mizzoni (“Inmate Mizzoni”), filed a Civil Rights
               23       Complaint pursuant to 42 U.S.C § 1983 against State of Nevada ex rel Nevada Department of
               24       Corrections, C. Smith, Brannon, Lisa Walsh, Baca, McDaniels and Cox. (ECF NO. 5). That same day
               25       this Court issued a Screening Order dismissing the State of Nevada ex rel Nevada Department of
               26       Corrections with prejudice, dismissing C. Smith, Cox, Walsh, McDaniels and Baca without prejudice
               27       and with leave to amend, and allowing the Fourteenth Amendment Due Process claim against
               28       Defendant Brannon to proceed. (ECF No. 4 at 9). Inmate Mizzoni was granted thirty (30) days from
  Office of the
Attorney General
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Carson City, NV
   89701-4717                                                            1
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                    1   the date of the Screening Order to file an amended complaint curing the deficiencies in his complaint.
                    2   (Id. at 10). To cure the deficiencies against C. Smith, Inmate Mizzoni must allege that C. Smith was
                    3   involved with Inmate Mizzoni’s disciplinary proceeding to proceed on a due process claim. (Id. at 7).
                    4            On March 25, 2016, Inmate Mizzoni filed a First Amended Complaint attempting to cure the
                    5   deficiencies of his complaint. (ECF No. 7). The amended complaint does not allege that C. Smith was
                    6   involved with Inmate Mizzoni’s disciplinary proceeding. (Id.)
                    7   II.      ARGUMENT
                    8            Here, this Court dismissed C. Smith without prejudice after reviewing Inmate Mizzoni’s initial
                    9   complaint. (Id. at 9). This Court provided Inmate Mizzoni the opportunity to amend his complaint to
               10       include allegations that C. Smith personally participated in the disciplinary proceeding. (Id. at 7). Inmate
               11       Mizzoni failed to allege that C. Smith personally participated in the disciplinary hearing. Since Inmate
               12       Mizzoni failed to cure the deficiencies against C. Smith, C. Smith is still dismissed from this instant action.
               13
                        III.     CONCLUSION
               14
                                 Since C. Smith has been dismissed from this instant action, Defendant respectfully requests this
               15
                        Court deny Inmate Mizzoni’s Motion to Respond to Defendant’s Notice of Acceptance of Service.
               16
                                 Dated this 26th day of January, 2017.
               17
                                                                         ADAM PAUL LAXALT
               18                                                        Attorney General
               19
                                                                         By:
               20                                                                  ERIN L. ALBRIGHT
                                                                                   Deputy Attorney General
               21                                                                  Bureau of Litigation
                                                                                   Public Safety Division
               22
                                                                                   Attorneys for Defendant
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Attorney General
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Carson City, NV
   89701-4717                                                                  2
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                    1                                     CERTIFICATE OF SERVICE
                    2          I certify that I am an employee of the Office of the Attorney General, State of Nevada, and that
                    3   on this 26th day of January, 2017, I caused to be deposited for mailing a true and correct copy of the
                    4   foregoing, OPPOSITION TO MOTION TO RESPOND TO DEFENDANT’S NOTICE OF
                    5   ACCEPTANCE OF SERVICE, to the following:
                    6   JOSEPH L. MIZZONI #68549
                        HIGH DESERT STATE PRISON
                    7
                        P.O. BOX 650
                    8   INDIAN SPRINGS, NV 89070

                    9
               10
                                                                              _____________________________
               11                                                             An employee of the
                                                                              Office of the Attorney General
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  Office of the
Attorney General
100 N. Carson St.
Carson City, NV
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